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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SECURITIES AND EXCHANGE                                 :
COMMISSION,                                             :
                                                        :
                       Plaintiff,                       :
                                                        :
v.                                                      :
                                                        :   Civil Action No. 1:19-cv-08454
TODAY’S GROWTH CONSULTANT, INC.                         :
(dba THE INCOME STORE)                                  :
                                                        :
and                                                     :
                                                        :
KENNETH D. COURTRIGHT, III,                             :
                                                        :
                       Defendants.                      :
                                                        :
        RECEIVER’S UNOPPOSED MOTION TO APPROVE SETTLEMENT AND
     RELEASE AGREEMENT WITH SUTTON FUNDING NY, INC. AND AUTHORIZE
      PAYMENT OF CONTINGENCY FEE AND COSTS TO RECEIVER’S COUNSEL

         Melanie E. Damian, Esq., the court-appointed Receiver (“Receiver”) for Today’s

 Growth Consultant, Inc. (“TGC”) in the above-captioned enforcement action, files this

 unopposed Motion to approve the Settlement and Release Agreement (the “Settlement”) entered

 into by and between the Receiver and Sutton Funding NY, Inc. (“Sutton Funding”) and to

 authorize payment of the Court-approved contingency fee and costs to counsel for the Receiver,

 and, in support of this Motion, the Receiver states:

                                        BACKGROUND

         A.     Receiver’s Appointment and Authority to Pursue Claims

         On December 30, 2019, this Court entered a Temporary Restraining Order Freezing

 Assets and Imposing Other Emergency Relief [ECF No. 20] (“TRO”) and an Order Appointing

 Receiver [ECF No. 19] (“Appointment Order”) in the above-captioned SEC enforcement action


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(the “SEC Action”). The TRO ordered all of the Defendants’ assets frozen to preserve the status

quo. See ECF No. 20 at 6-7. Further, the TRO ordered the preservation of all Defendants’

documents, books and records concerning (1) the allegations of the Complaint, (2) any securities

offered for sale by TGC, including, but not limited to Consulting Performance Agreements, and

(3) any communications with, between, or among either Defendant. See ECF No. 20 at 7-8.

       The Receiver’s mandate was to take all actions necessary to implement the terms of the

TRO by, among other things, taking possession, custody and control of all of Defendants’ assets,

establishing control of TGC’s business, ensuring that Defendants’ assets were frozen and

preventing their withdrawal or misapplication, obtaining and preserving documents and records

pertaining to Defendants’ assets, transactions, and business operations, and performing all acts

necessary to protect and preserve the Receivership Estate. See ECF No. 19 at 2-4.

       On March 2, 2020, the Court entered two separate stipulated preliminary injunction

orders in the SEC Action, titled Order Imposing Preliminary Injunction Freezing Assets and

Granting Other Relief [ECF Nos. 55, 56] (collectively, the “PI Orders”) against Defendants TGC

and Kenneth D. Courtright, III, which shall remain in effect until the Court’s determination of

the merits of the allegations set forth in the SEC’s Complaint or further order of the Court.

       B.      Receiver’s Claims against Sutton Funding NY, Inc.

       Upon reviewing and analyzing the financial records of TGC, the Receiver discovered

that from May 2019 through November 2019, within the time period that TGC was perpetrating

its Ponzi scheme, TGC improperly transferred a total of $100,000 (the “Sutton Funding

Transfers”) to Sutton Funding NY, Inc. The Receiver alleged that Sutton Funding received the

transfers without providing reasonably equivalent value to TGC in exchange for the transfers.

The source of the Sutton Funding Transfers was payments to TGC from the investors that TGC



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 had defrauded. Accordingly, the Receiver filed an action stating claims against Sutton Funding

 for fraudulent transfer and unjust enrichment and seeking the return of the transferred funds, in

 the action styled Damian v. EIN Cap Inc., et al., Case No. 1:21-cv-01792, pending in the United

 States District Court for the Northern District of Illinois.

         Thereafter, the parties participated in a settlement conference with Magistrate Judge

 Jeffrey T. Gilbert. The Receiver negotiated with Sutton Funding in good faith and agreed to

 amicably resolve all of her claims against it to avoid the uncertainties and expense of further

 litigation.

        THE SETTLEMENT AGREEMENT WITH SUTTON FUNDING NY, INC.

        The Receiver and Sutton Funding, subject to this Court’s approval, have entered into a

settlement agreement (the “Settlement”), a copy of which is attached hereto as Exhibit A.

Pursuant to the terms of the Settlement, the Receiver and Sutton Funding agree that Sutton Funding

shall pay to the Receiver a total amount of $55,000 (USD) (the “Settlement Amount”), with an

initial payment of $15,000 (USD) (the “Initial Payment”) within fourteen (14) days after this

Court’s approval of the Settlement and a payment of $5,000 (USD) per month for eight (8) months

starting on the thirtieth (30th) day after the Initial Payment and every subsequent thirtieth (30th)

day. In exchange for payment of the Settlement Amount, Sutton Funding shall receive a release

of the Receiver’s claims against Sutton Funding. This description of the Settlement is included

here for summary purposes only and not intended to constitute a full recitation of the terms of the

Settlement. A review of this description or this Motion should not be a substitute for a review of

the complete Settlement. See Exhibit A.

                 REQUEST TO PAY CONTINGENCY FEES AND COSTS
                 TO COUNSEL FOR RECEIVER PURSUANT TO ORDER

         Pursuant to the Court’s November 5, 2020, Order Granting Receiver’s Motion for


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 Approval of Contingency Fee Arrangement [ECF 103], the Receiver requests the Court

 authorize and approve payment to the Receiver’s counsel for contingency fees and out-of-pocket

 expenses advanced in connection with prosecuting the claims against Sutton Funding

 immediately upon receiving from Sutton Funding the Initial Payment and each subsequent

 monthly payment due under the Settlement, without further order of the Court.

       Specifically, the Receiver requests the Court enter an Order authorizing payment to

Damian & Valori LLP from the Settlement Amount in the amount of $18,414.32 (comprising

$18,150.00 in fees (33% of $55,000) and $264.32 in costs (comprising $44.66 for the portion of

the filing fee attributable to Sutton Funding, $105.00 fee for service of the Summons and

Complaint, and $114.66 in additional costs)). In particular, the Receiver request authority to pay

to Damian & Valori LLP 100% of these costs and 33% of the $15,000 Initial Payment immediately

upon receiving that payment from Sutton Funding, and 33% of the subsequent $5,000 monthly

payments immediately upon receiving each such payment from Sutton Funding, without further

order of this Court.

                           CERTIFICATION OF CONFERENCE

        Undersigned counsel for the Receiver hereby certifies that he conferred with counsel for

 Plaintiff, the Securities and Exchange Commission, and Defendant Kenneth D. Courtright,

 regarding the terms of the Settlement and asked that they confirm whether they have any

 objections thereto. Counsel for Plaintiff and Defendant Courtright confirmed that they have no

 objections to the Settlement.

                                        CONCLUSION

       WHEREFORE, for the foregoing reasons, the Receiver respectfully requests that the Court:

 (A) enter the proposed order, attached hereto as Exhibit B, approving the Settlement and



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authorizing the Receiver to pay the 33% contingency fees and 100% of the out-of-pocket

expenses described above to counsel for the Receiver immediately upon receiving the settlement

payments from Sutton Funding, without further order of the Court; and (B) grant such other and

further relief as the Court deems just and proper.

       Respectfully submitted this 2nd day of September, 2021.

                                                     /s/Kenneth Dante Murena
                                                     Kenneth Dante Murena, Esq.
                                                     Florida Bar No.: 147486
                                                     Admitted Pro Hac Vice and
                                                     General Admission to N.D. Ill.

                                                     DAMIAN & VALORI LLP
                                                     Counsel for Melanie E. Damian,
                                                     Court-Appointed Receiver
                                                     1000 Brickell Avenue, Suite 1020
                                                     Miami, Florida 33131
                                                     Telephone: (305) 371-3960
                                                     Facsimile: (305) 371-3965
                                                     Email: kmurena@dvllp.com




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 2nd day of September 2021, I electronically filed with

Court using the CM/ECF system the foregoing Motion upon all counsel of record and parties

who have appeared in this case and are registered to receive electronic notice of all court filings.

                                                       /s/Kenneth Dante Murena
                                                       Kenneth Dante Murena, Esq.
                                                       Counsel for Melanie E. Damian,
                                                       Court-Appointed Receiver

                                                       Admitted Pro Hac Vice and
                                                       General Admission to N.D. Ill.




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